
JoNes, Chief Judge,
delivered the opinion of the court:
This is a Congressional reference case. We are asked to determine and report to the House of Representatives the amount, if any, legally or equitably due from the United States to the claimant. The facts are set out in detail in the findings.
On March 7,1942, three agents of the defendant’s Alcohol Tax Unit, Bureau of Internal Revenue, Department of the Treasury, conducted a search for an illegal whiskey still in Lexington County, South Carolina. They had no warrant of arrest. At the request of S. S. Sligh, the agent in charge, J.'A. Watts, deputy sheriff of that county, was aiding in the investigation.
*715On approaching an oak thicket they discovered an illegal whiskey still in operation and arrested its attendant, Harold Sharpe. Hearing the sound of wood cutting nearby, Investigator Sligh directed Deputy Sheriff Watts to apprehend the wood cutter. A scuffle ensued, and a person later identified as Halsford V. Sharpe, a co-operator of the still, attempted to escape and was shot once by a pistol in the hands of the deputy sheriff.
Investigator Sligh, concluding that the wound was serious, transported Sharpe to plaintiff’s hospital in the adjoining county of Richland, which had the best available facilities for emergency treatment.
On previous occasions the Alcohol Tax Unit had brought wounded prisoners to plaintiff’s hospital for care and treatment during the time they were in legal custody and payment had been made for the services rendered.
Sharpe is paralyzed from the waist down. He cannot operate a wheel chair and he is totally and permanently disabled. He is and will continue to be a bed-ridden patient.
Sharpe was indicted but on September 16,1942, the United States District Judge for that area dismissed the indictment stating that “because of the defendant’s physical condition it is not the intention of the United States Attorney to further proceed with the prosecution of the case.” The patient was discharged from the marshal’s custody on September 17,1942. On the same day the United States Marshal notified the plaintiff in writing that he would no longer be responsible for any bills incurred in connection with Sharpe. The defendant through the United States Marshal paid the hospital bill for the care and treatment of Sharpe from March 7 to September 17, 1942, the date of his discharge from custody.
Sharpe is in a helpless condition and must be cared for somewhere. The Board of Commissioners of Lexington County, where the patient resided at the time of his injury, has refused to contribute or to assume responsibility for his care on the ground that he is not a legitimate charge-of that county under the circumstances.
He is thus left as the uninvited guest of the hospital. The defendant, whose representatives are responsible for the *716shooting, and the governing board of the county where the conditions prevailed that brought it about, have both washed their hands of the responsibility, and yet there he is, as unwelcome as “the man who came to dinner.”
Can they turn him out? Of course not; that would be inhuman. He has no relatives able or willing to care for him. He cannot read or write. Yet he is helpless and in a civilized country must be treated and cared for. Who shall stand the loss — the Federal Government whose officials, perhaps justifiably but nevertheless actually, directed the action which caused his condition, or the innocent bystander wholly without responsibility for the events which caused his condition? This hospital is a tax-supported institution paid for by and intended to serve the people of .Richland County. It naturally limits its charity patients to those residing in that county. Nevertheless, at the request of the United States it accepted a patient who had been brought to it from beyond the limits of its jurisdiction. The officials of the Government claim they have no authority to pay the expenses after an indictment has been dismissed and the man is out of custody, and that therefore there is no legal liability on the part of the United States. It cites the following statutes as being the ones that authorize the payment of subsistence and expenses of prisoners:
18 U. S. C. § 4006. Subsistence for prisoners.
The Attorney General shall allow and pay only the reasonable and actual cost of the subsistence of prisoners in the custody of any marshal of the United States, and shall prescribe such regulations for the government of the marshals as will enable him to determine the actual and reasonable expenses incurred.
18 U. S. C. § 4007. Expenses of prisoners.
The expenses attendant upon the confinement of persons arrested or committed under the laws of the United States, as well as upon the execution of any sentence of a court thereof respecting them, shall be paid out of the Treasury of the United States in the manner provided by law.
Defendant does not question its liability to defray the expenses incurred for the care and treatment of prisoners while under arrest and in the custody of the United States. *717It argues conversely that no liability accrues after a prisoner is discharged from custody, and that the contractual relationship arising between the defendant and the hospital is limited by the statutory provisions authorizing such expenditures.
From a legal viewpoint this argument is unanswerable. Nor can the officials of the Government he criticized for not paying this expense after the indictment was dismissed because such officials had no legal authority to do so. Even had they agreed to do so it would have been without the scope of their authority. Eastern Extension, Australasia &amp; China Tel. Co. v. United States, 251 U. S. 355. Anyone dealing with an agent of the Government must be held to have notice of the limitation of his authority. Coleman v. United States, 100 F. 2d 903; Wilber National Bank v. United States, 294 U. S. 120.
Plaintiff in effect concedes this much, but asserts that there is a moral obligation on the part of the United States to reimburse it for the reasonable and necessary accumulated charges which it has incurred, and to continue to do so in the future, or to remove Sharpe to a Federal hospital or institution and thus relieve the plaintiff hospital of the necessity and expense of further caring for a helpless human being for whose condition it is in no way responsible.
Defendant further contends that this is not an equitable claim, but rather a claim for a gratuity.
We had occasion to consider in a previous Congressional reference case, Bertha A. Burkhardt, et al, v. United. States, 113 C. Cls. 658, the meaning of the term equitable as it was there used. We quote the following from page 667 of that case:
It has also been established by the decisions of this Court and the Supreme Court that Congress not only has authority to create a cause of action where none existed before but to make an appropriation to pay such claim (Garrett v. United States, 70 C. Cls. 304).
In Pope v. United States, 323 U. S. 1, 9, the Supreme Court said:
We perceive no constitutional obstacle to Congress’ imposing on the Government a new obligation where there had been none before, * * *. The power of Congress to provide for the payment of debts, conferred by Section 8 of Article I of the Constitution, is not restricted *718to payment: of those obligations which are legally binding on the Government. It extends to the creation of such obligations in recognition of claims which are merely moral or honorary.
We are therefore of the opinion that the term “equitable claim” as used in 28 U. S. C., Sec. 2509, is not used in a strict technical sense meaning a claim involving consideration of principles of right and justice as administered by courts of equity, but the broader moral sense based upon general equitable considerations.
We do not think that it is fair or just to require the Columbia Hospital, which is a non-profit, tax-supported institution established for the care of its own people in a single county, to sustain the loss and to continue to sustain it during the patient’s lifetime. To require it to do so would be to put a penalty on those fine, generous, humanitarian instincts which are the fabric of what we call civilization. We say require, because that is just what the facts and circumstances of this case mean. To turn a human being out to suffer and die is absolutely unthinkable.
This incident arose in the enforcement of a Federal law. The man was charged with a Federal offense. The shooting was done by an officer who was acting under the direction of an authorized officer of the United States. The hospital accepted the patient at the request of the officer of the United States as an emergency case. Then it had no choice; now it has no choice.
The entire incident occurred in another county. The violation of the Federal statute occurred in another county. It may well be that the officials of that county because of the fact that they permitted the conditions to prevail that brought this incident all about, and because of the fact that the entire affair was within the borders of that county, should share this expense. But as between the plaintiff and the defendant we have no doubt that there is a moral obligation on the part of the United States Government to compensate the plaintiff for the reasonable and necessary expense of the care and treatment of Sharpe. We think it should continue to do so in the future, or in lieu thereof arrange a transfer to some Federal institution that is equipped to care for the patient.
*719We will not go into the refined distinction as to whether it is an equitable or a moral obligation, or whether such payment would be a mere gratuity. Regardless of whether it is classified as an equitable obligation or a gratuity, we think the circumstances of this case fully justify this course of action, and we recommend it to the Congress.
From September 17, 1942, when he was dismissed from custody, through October 18,1952, the reasonable and necessary expense of Sharpe’s care and treatment amounted to $18,322.92, no part of which has been paid.
, Howell, Judge; Madden, Judge; Whitakek, Judge; and Littleton, Judge, concur.
FINDINGS OF FACT
The court, having considered the evidence, the report of Commissioner Roald A. Hogensen, and the briefs and argument of counsel, makes findings of fact as follows:
1. The plaintiff is a South Carolina corporation, engaged in the business of operating a general hospital at Columbia, South Carolina, for the use and benefit of the people of Richland County. It is supported by a general tax levy within the county. Charity cases are restricted to county residents. All financially responsible patients are required to pay for hospitalization in accordance with established fee schedules. An emergency case is accepted for humanitarian reasons regardless of the residence of the injured person or his ability to pay, although efforts are made to collect the fees for such services from a nonresident patient or the Board of Commissioners of his home county. The plaintiff has had a history of deficit operations.
2. On March 7,1942, three agents of the defendant’s Alcohol Tax Unit, Bureau of Internal Revenue, Department of the Treasury, conducted a search for an illegal whiskey still in Lexington County, South Carolina. They had no warrant of arrest. At the request of S. S. Sligh, the agent in charge, J. A. Watts, deputy sheriff of that county, was aiding in the investigation.
3. As the officers approached a likely location near Florence Church, Lexington County, Investigator Sligh sta*720tioned his men, advanced alone through the underbrush to an oak thicket, discovered an illegal whiskey still in operation, arrested its attendant, one Harold Sharpe, and hearing the sound of wood cutting nearby, returned quietly with his prisoner to his group of agents. At Sligh’s request, Deputy Sheriff Watts proceeded to apprehend the wood cutter. A scuffle occurred, and a person later identified as Halsford Y. Sharpe, a co-operator of the still and cousin of Harold Sharpe, attempted to escape, and was shot once by a pistol in the hand of the deputy sheriff.
Later diagnosis showed that the bullet entered the back about one and one-half inches to the left of the eleventh thoracic vertebra, passed laterally through and fractured that vertebra, severed the spinal cord, coursed through the right lung anteriorly, and came to rest in the fourth rib interspace.
4. Upon inspection of the wounded man, Investigator Sligh concluded that his injuries were serious, and transported him to the plaintiff’s hospital in adjoining Richland County, which had the best available facilities for emergency treatment.
In the hospital emergency room, Investigator Sligh advised Dr. Katz, the attending interne, that he was an agent of the Alcohol Tax Unit, that the patient had been wounded in a Federal raid, and that he wanted the hospital to summon Dr. Hopkins, who was on the Government list of approved physicians and surgeons. He also advised that he would notify the United States Marshal, who would take charge and make any further arrangements about physicians.
On some previous occasions, the Alcohol Tax Unit had brought wounded prisoners to the plaintiff’s hospital for care and treatment during the time they were in legal custody, and payment had been made for the services rendered. The subject matter of payment for services to Halsford Y. Sharpe was not discussed on his admission to the hospital.
5. Because of the severance of his spinal cord as a result of the pistol shot, Halsford V. Sharpe was paralyzed from the waist down and has remained in such condition ever since. He cannot operate a wheel chair, and he is totally and permanently disabled. He has been continuously a bed *721patient in the hospital from the time of his admission, and was still such when his testimony was taken at the hospital in the trial of this case on October 28, 1952. At that time he was 83 years of age. He has had no relatives willing or able to care for him, and is without means of his own to pay for hospitalization. The Board of Commissioners of Lexington County, where the patient resided at the time of his injury, has refused to contribute to or assume the responsibility for his care, on the ground that he is not a legitimate sharge of that county under the circumstances of his case.
At times, the hospital has been required to place him in a private room because of his disturbance of other patients, and also because of suspicion that he was getting narcotics and barbiturates from outside sources. He can neither read nor write. Efforts to rehabilitate him through the vocational training program of the State of South Carolina have been to no avail because of his marked personality problems.
6. Shortly after Halsford Y. Sharpe was admitted to the hospital, the United States Marshal was informed and obtained a warrant of arrest and served the same upon the patient at the hospital. The hospital was also advised that the patient was in the constructive custody of the Marshal. Because of the condition of the patient, no hospital guard was maintained.
7. On May 26, 1942, Halsford V. Sharpe was indicted in the United States District Court, Eastern District of South Carolina, on four counts based on the circumstances of his operation of the illegal still.
Two operations were performed upon him by Drs. Hopkins, Madden, and Lindler, the last of which occurred August 26, 1942. By September 1, 1942, the patient was convalescing, but the prognosis with respect to recovery of bodily function was that there would be none.
The Assistant United States Attorney, assigned to the case, requested the suggestions of Investigator Sligh and the United States Marshal with respect to what disposition should be made of the case. They informed him of the physical condition of the patient, but advised against nol-prossing of the indictment.
*722On September 16, 1942, the indictment was dismissed by order of Judge George Bell Timmerman of said Court, on the stated ground that “because of the defendant’s physical condition it is not the intention of the United States Attorney to further proceed with the prosecution of this case.” The patient was discharged from the Marshal’s custody by order of Judge J. Waties Waring of said Court, on September 17, 1942. On the same day, the United States Marshal served notices of the Court’s action upon the plaintiff and the patient, and further notified the plaintiff in writing that “the U. S. Marshal would no longer be responsible for any bills incurred by the defendant Halsford Victor Sharpe.” This latter notice was served on the plaintiff at the direction of the Assistant United States Attorney.
8. The defendant, through the United States Marshal, paid the hospital bill for the care and treatment of Halsford V. Sharpe from March 7, 1942, to September 17, 1942, in the sum of $1,055.15. The services of the physicians prior to the latter date were also paid for by the defendant, except those of Dr. Lindler who failed to present his statement.
While the United States Marshal informed the plaintiff that payment of hospital fees would be made through his office while the patient-prisoner was in his custody, there was no express representation by any agent of the defendant as to whether or not payment would be made thereafter.
9. The reasonable charges, entered on the plaintiff’s books and records, for the care and treatment of Halsford V. Sharpe, in addition to the sum paid by the defendant, amounted to $13,246.53 through December 31, 1950, the period of time specified in H. B. 4162, hereinafter mentioned in Finding No. 12.
Thereafter, additional reasonable charges through October 11, 1951, amounted to $2,075.34, or a total of $15,321.87 for the period of time alleged in the plaintiff’s petition on file in this case.
Thereafter, additional reasonable charges through October 18,1952 (which date was about ten days prior to the commencement of the trial of this case) amounted to $3,001.05, or a total by that time of $18,322.92, no part of which has been paid.
*72310. In 1948 Congress passed a bill, H. R. 431, 80th Congress, 2d Session, for the relief of the plaintiff in the sum of $3,414.90, for hospital care and medical attention furnished to Halsford Y. Sharpe, for the period beginning September 18, 1942, and ending December 31, 1945. The bill was returned, without approval, by the President on March 20, 1948. After referral of the veto message to the House Committee on the Judiciary, no further action was taken.
11. In April 1949 the plaintiff herein filed suit in the United States District Court for the Eastern District of South Carolina, against the defendant herein, asking judgment in the sum of $8,762.38 for the care and treatment of Halsford V. Sharpe to January 1, 1949. The defendant filed a motion to dismiss the action upon the ground that the complaint failed to state a claim against the defendant upon which relief could be granted. The motion to dismiss was granted by Judge C. C. Wyche of said Court, in a formal opinion and order, dated December 22,1949, 87 F. Supp. 535.
12. On May 17,1951, H. R. 4162,82d Congress, 1st Session, was introduced in the House of Representatives, which bill proposed payment to the plaintiff of the sum of $12,914.58, in full settlement of its claims against the United States on account of hospital care and medical attention provided to Halsford Y. Sharpe for the period beginning September 18, 1942, and ending December 31,1950.
House Resolution 404, 82d Congress, 1st Session, passed on October 4,1951, provides as follows:
Resolved,. That the bill (H. R. 4162) entitled “A bill for the relief of the Columbia Hospital of Richland County, South Carolina,” together with all accompanying papers, is hereby referred to the United States Court of Claims pursuant to sections 1492 and 2509 of title 28, United States Code; and said court shall proceed expeditiously with the same in accordance with the provisions of said sections and report to the House, at the earliest practicable date, giving such findings of fact and conclusions thereon as shall be sufficient to inform the Congress of the nature and character of the demand, as a claim legal or equitable, against the United States, and the amount, if any, legally or equitably due from the United States to the claimant.
